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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA


   WILLIAM C. STEPPACHER, JR.,                          Case No.
   Individually and on Behalf of All Others
   Similarly Situated,
                                                        CLASS ACTION COMPLAINT
                                      Plaintiff,

                          v.                            JURY TRIAL DEMANDED

   ALFI, INC., PAUL ANTONIO PEREIRA,
   DENNIS MCINTOSH, JOHN M. COOK,
   II, PETER BORDES, JIM LEE, JUSTIN
   ELKOURI, ALLISON FICKEN, FRANK
   SMITH, and RICHARD MOWSER,

                                      Defendants.


         Plaintiff William C. Steppacher, Jr. (“Plaintiff”), individually and on behalf of all others

  similarly situated, by Plaintiff’s undersigned attorneys, for Plaintiff’s complaint against

  Defendants, alleges the following based upon personal knowledge as to Plaintiff and Plaintiff’s

  own acts, and information and belief as to all other matters, based upon, inter alia, the investigation

  conducted by and through Plaintiff’s attorneys, which included, among other things, a review of

  Defendants’ public documents, conference calls and announcements made by Defendants, United

  States (“U.S.”) Securities and Exchange Commission (“SEC”) filings, wire and press releases

  published by and regarding Alfi, Inc. (“Alfi” or the “Company”), analysts’ reports and advisories

  about the Company, and information readily obtainable on the Internet. Plaintiff believes that

  substantial additional evidentiary support will exist for the allegations set forth herein after a

  reasonable opportunity for discovery.




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                                   NATURE OF THE ACTION

         1.     This is a federal securities class action on behalf of a class consisting of all persons

  and entities other than Defendants that purchased or otherwise acquired: (a) Alfi common stock or

  warrants pursuant and/or traceable to the Offering Documents (defined below) issued in

  connection with the Company’s initial public offering conducted on or about May 4, 2021 (the

  “IPO” or “Offering”); and/or (b) Alfi securities between May 4, 2021 and November 15, 2021,

  both dates inclusive (the “Class Period”). Plaintiff pursues claims against the Defendants under

  the Securities Act of 1933 (the “Securities Act”) and the Securities Exchange Act of 1934 (the

  “Exchange Act”).

         2.     Alfi provides interactive artificial intelligence and machine learning software

  solutions. The Company was led by, among other management, Chief Executive Officer (“CEO”)

  Paul Antonio Pereira (“P. Pereira”), Chief Technology Officer (“CTO”) Charles Raglan Pereira

  (“C. Pereira”), and Chief Financial Officer (“CFO”) Dennis McIntosh (“McIntosh”).

         3.     On January 8, 2021, Alfi filed a registration statement on Form S-1 with the SEC

  in connection with the IPO, which, after several amendments, was declared effective by the SEC

  on May 3, 2021 (the “Registration Statement”).

         4.     On or about May 4, 2021, pursuant to the Registration Statement, Alfi’s common

  stock and warrants began trading on the NASDAQ Capital Market (“NASDAQ”) under the trading

  symbols “ALF” and “ALFIW”, respectively.

         5.     On May 5, 2021, Alfi filed a prospectus on Form 424B4 with the SEC in connection

  with the IPO, which formed part of the Registration Statement (the “Prospectus” and, together

  with the Registration Statement, the “Offering Documents”).




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         6.      Pursuant to the Offering Documents, Alfi conducted the IPO, selling approximately

  3.7 million shares of common stock, and approximately 3.7 million warrants, to the public at the

  Offering price of $4.15 per both share and warrant for approximate proceeds to the Company of

  $14 million after applicable underwriting discounts and commissions, and before expenses.

         7.      The Offering Documents were negligently prepared and, as a result, contained

  untrue statements of material fact or omitted to state other facts necessary to make the statements

  made not misleading and were not prepared in accordance with the rules and regulations governing

  their preparation. Additionally, throughout the Class Period, Defendants made materially false

  and misleading statements regarding the Company’s business, operations, and compliance

  policies. Specifically, the Offering Documents and Defendants made false and/or misleading

  statements and/or failed to disclose that: (i) Alfi maintained deficient disclosure controls and

  procedures and internal control over financial reporting; (ii) as a result, the Company and its

  employees could and did engage in corporate transactions and other matters without sufficient and

  appropriate consultation with or approval by the Company’s Board of Directors (the “Board”);

  (iii) all the foregoing increased the risk of internal and regulatory investigations into the Company

  and its employees; (iv) all the foregoing, once revealed, was likely to have a material negative

  impact on the Company’s reputation, financial condition, and ability to timely file periodic reports

  with the SEC; and (v) as a result, the Company’s public statements were materially false and

  misleading at all relevant times.

         8.      On October 28, 2021, Alfi disclosed in an SEC filing that, on October 22, 2021, the

  Board had placed P. Pereira, C. Pereira, and McIntosh “on paid administrative leave and authorized

  an independent internal investigation regarding certain corporate transactions and other matters.”

  That filing further disclosed, among other changes, that on October 22, 2021, the Board had



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  appointed a new interim CEO and Chairman of the Board, and that “[o]n October 28, 2021, Mr.

  C. Pereira’s employment with the Company was terminated.”

         9.      On this news, Alfi’s stock price fell $1.24 per share, or 21.91%, to close at $4.42

  per share on October 29, 2021.

         10.     On November 1, 2021, Alfi disclosed in another SEC filing, among other matters,

  that the Company’s Chair of the Audit Committee had resigned from the Board, and details

  concerning the corporate transactions and matters that had precipitated the internal investigation

  into P. Pereira, C. Pereira, and McIntosh. According to that filing, the internal investigation

  resulted from “the Company’s purchase of a condominium for a purchase price of approximately

  $1.1 million” and “the Company’s commitment to sponsor a sports tournament in the amount of

  $640,000,” both of which “were undertaken by the Company’s management without sufficient and

  appropriate consultation with or approval by the Board.”

         11.     Then, on November 15, 2021, Alfi disclosed that it “received a letter from the staff

  of the [SEC] indicating that the Company, its affiliates and agents may possess documents and

  data relevant to an ongoing investigation being conducted by the staff of the SEC” and “that such

  documents and data should be reasonably preserved and retained until further notice.” According

  to Alfi, “[t]he materials to be preserved and retained include documents and data created on or

  after April 1, 2018 that[,]” among other things, “were created, modified or accessed by certain

  named former and current officers and directors of the Company or any other officer or director of

  the Company” or “relate or refer to the condominium or the sports tournament sponsorship

  identified in the Company’s Current Report on Form 8-K filed on November 1, 2021, or financial

  reporting and disclosure controls, policies or procedures.”




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         12.    Also on November 15, 2021, Alfi announced “that Louis A. Almerini, CPA, has

  been appointed by the [Board] to serve as interim [CFO], effective November 8, 2021.”

         13.    Finally, on November 16, 2021, Alfi filed a notice of its inability to timely file its

  quarterly report on Form 10-Q with the SEC for the quarter ended September 30, 2021 (the “3Q21

  10-Q”). That filing cited, inter alia, “recent changes in the Company’s [CEO] and [CFO] and in

  the Chair of the Audit Committee” of the Board, as well as needing “a new independent registered

  public accounting firm,” as reasons for the Company’s inability to timely file the 3Q21 10-Q.

         14.    Following these disclosures, the Company’s stock price fell $0.24 per share, or

  5.21%, to close at $4.37 per share on November 16, 2021.

         15.    As of the time this Complaint was filed, the price of Alfi common stock and

  warrants were trading below the $4.15 per share Offering price, damaging investors.

         16.    As a result of Defendants’ wrongful acts and omissions, and the precipitous decline

  in the market value of the Company’s securities, Plaintiff and other Class members have suffered

  significant losses and damages.

                                    JURISDICTION AND VENUE

         17.    The claims asserted herein arise under and pursuant to Sections 11 and 15 of the

  Securities Act (15 U.S.C. §§ 77k and 77o), and Sections 10(b) and 20(a) of the Exchange Act (15

  U.S.C. §§ 78j(b) and 78t(a)) and Rule 10b-5 promulgated thereunder by the SEC (17 C.F.R. §

  240.10b-5).

         18.    This Court has jurisdiction over the subject matter of this action pursuant to 28

  U.S.C. § 1331, Section 22 of the Securities Act (15 U.S.C. § 77v), and Section 27 of the Exchange

  Act (15 U.S.C. § 78aa).




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         19.      Venue is proper in this Judicial District pursuant to Section 28 U.S.C. § 1391(b)

  and Section 27 of the Exchange Act (15 U.S.C. § 78aa(c)). Alfi is headquartered in this Judicial

  District, Defendants conduct business in this Judicial District, and a significant portion of

  Defendants’ actions took place within this Judicial District.

         20.      In connection with the acts alleged in this Complaint, Defendants, directly or

  indirectly, used the means and instrumentalities of interstate commerce, including, but not limited

  to, the mails, interstate telephone communications, and the facilities of the national securities

  markets.

                                              PARTIES

         21.      Plaintiff purchased or otherwise acquired Alfi common stock or warrants pursuant

  and/or traceable to the Offering Documents issued in connection with the IPO, and/or Alfi

  securities during the Class Period, and suffered damages as a result of the federal securities law

  violations and false and/or misleading statements and/or material omissions alleged herein.

  Plaintiff attaches his Certification hereto with Schedule A of transactions.

         22.      Defendant Alfi is a Delaware corporation with principal executive offices located

  at 429 Lenox Avenue, Suite 547, Miami Beach, Florida. Alfi’s common stock and warrants trade

  in an efficient market on the NASDAQ under the trading symbols “ALF” and “ALFIW”,

  respectively.

         23.      Defendant P. Pereira served as Alfi’s Chairman of the Board, President, and CEO

  from before the start of the Class Period to October 22, 2021. P. Pereira is also a co-founder of

  the Company. P. Pereira signed or authorized the signing of the Registration Statement filed with

  the SEC.




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         24.     Defendant McIntosh served as Alfi’s CFO and Treasurer from before the start of

  the Class Period to November 8, 2021. McIntosh signed or authorized the signing of the

  Registration Statement filed with the SEC.

         25.     Defendants P. Pereira and McIntosh are sometimes referred to herein collectively

  as the “Exchange Act Individual Defendants.”

         26.     The Exchange Act Individual Defendants possessed the power and authority to

  control the contents of Alfi’s SEC filings, press releases, and other market communications. The

  Exchange Act Individual Defendants were provided with copies of Alfi’s SEC filings and press

  releases alleged herein to be misleading prior to or shortly after their issuance and had the ability

  and opportunity to prevent their issuance or to cause them to be corrected. Because of their

  positions with Alfi, and their access to material information available to them but not to the public,

  the Exchange Act Individual Defendants knew that the adverse facts specified herein had not been

  disclosed to and were being concealed from the public, and that the positive representations being

  made were then materially false and misleading. The Exchange Act Individual Defendants are

  liable for the false statements and omissions pleaded herein.

         27.     Alfi and the Exchange Act Individual Defendants are sometimes referred to herein

  collectively as the “Exchange Act Defendants.”

         28.     Defendant John M. Cook, II (“Cook”) has served as Alfi’s Chief Business

  Development Officer at all relevant times. Cook also served as a Director of the Company at the

  time of the IPO. Cook signed or authorized the signing of the Registration Statement filed with

  the SEC.




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         29.     Defendant Peter Bordes (“Bordes”) has served as a Director of Alfi at all relevant

  times. Bordes has also served as the Company’s Interim CEO since October 22, 2021. Bordes

  signed or authorized the signing of the Registration Statement filed with the SEC.

         30.     Defendant Jim Lee (“Lee”) has served as a Director of Alfi at all relevant times.

  Lee has also served as the Company’s Chairman of the Board since October 22, 2021. Lee signed

  or authorized the signing of the Registration Statement filed with the SEC.

         31.     Defendant Justin Elkouri (“Elkouri”) served as a Director of Alfi at the time of the

  IPO. Elkouri signed or authorized the signing of the Registration Statement filed with the SEC.

         32.     Defendant Allison Ficken (“Ficken”) has served as a Director of Alfi at all relevant

  times. Ficken signed or authorized the signing of the Registration Statement filed with the SEC.

         33.     Defendant Frank Smith (“Smith”) has served as a Director of Alfi at all relevant

  times. Smith signed or authorized the signing of the Registration Statement filed with the SEC.

         34.     Defendant Richard Mowser (“Mowser”) served as a Director of Alfi at the time of

  the IPO. Mowser signed or authorized the signing of the Registration Statement filed with the

  SEC.

         35.     The Exchange Act Individual Defendants and Defendants Cook, Bordes, Lee,

  Elkouri, Ficken, Smith, and Mowser are sometimes referred to herein collectively as the

  “Securities Act Individual Defendants.”

         36.     As directors, executive officers, and/or major shareholders of the Company, the

  Securities Act Individual Defendants participated in the solicitation and sale of Alfi common stock

  and warrants in the IPO for their own benefit and the benefit of the Company. The Securities Act

  Individual Defendants were key members of the IPO working group and executives of the

  Company who pitched investors to purchase the shares sold in the IPO.



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         37.     Alfi and the Securities Act Individual Defendants are sometimes referred to herein

  collectively as the “Securities Act Defendants.”

         38.     The Exchange Act Defendants and the Securities Act Defendants are sometimes

  collectively, in whole or in part, referred to herein as “Defendants.”

                                 SUBSTANTIVE ALLEGATIONS

                                             Background

         39.     Alfi provides interactive artificial intelligence and machine learning software

  solutions. The Company was led by, among other management, CEO P. Pereira, CTO C. Pereira,

  and CFO McIntosh.

         40.     On January 8, 2021, Alfi filed the Registration Statement on Form S-1 with the

  SEC in connection with the IPO, which, after several amendments, was declared effective by the

  SEC on May 3, 2021.

         41.     On or about May 4, 2021, pursuant to the Registration Statement, Alfi’s common

  stock and warrants began trading on the NASDAQ under the trading symbols “ALF” and

  “ALFIW”, respectively.

         42.     On May 5, 2021, Alfi filed the Prospectus on Form 424B4 with the SEC in

  connection with the IPO, which formed part of the Registration Statement.

         43.     Pursuant to the Offering Documents, Alfi conducted the IPO, selling approximately

  3.7 million shares of common stock, and approximately 3.7 million warrants, to the public at the

  Offering price of $4.15 per both share and warrant for approximate proceeds to the Company of

  $14 million after applicable underwriting discounts and commissions, and before expenses.




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          Materially False and Misleading Statements Issued in the Offering Documents

          44.     With respect to the Company’s disclosure controls and procedures, the Offering

   Documents assured investors, in relevant part:

          Our disclosure controls and procedures are designed to reasonably assure that
          information required to be disclosed by us in reports we file or submit under the
          Exchange Act is accumulated and communicated to management, recorded,
          processed, summarized and reported within the time periods specified in the rules
          and forms of the SEC.

          45.     Similarly, with respect to Alfi’s internal control over financial reporting, the

   Offering Documents assured investors, in relevant part, that “[o]ur internal control over financial

   reporting is a process designed to provide reasonable assurance regarding the reliability of

   financial reporting and the preparation of financial statements in accordance with generally

   accepted accounting principles[,]” and that “[i]n connection with this offering, we intend to begin

   the process of documenting, reviewing and improving our internal controls and procedures for

   compliance with Section 404 of the Sarbanes-Oxley Act, which will require annual management

   assessment of the effectiveness of our internal control over financial reporting.”

          46.     The Offering Documents also represented that “[t]he roles of [CEO], President and

   Chairman of [the Board] are currently performed by the same person because we do not have a

   policy regarding the separation of these roles,” although the Board “believes that it is in the best

   interests of the Company and our stockholders to make that determination from time to time based

   upon the position and direction of the Company and the membership of [the Board]”; that the

   Board “has determined that our leadership structure is appropriate for the Company and our

   stockholders as it helps to ensure that the [Board] and management act with a common purpose

   and provides a single, clear chain of command to execute our strategic initiatives and business

   plans”; and that the Board “believes that a combined role of [CEO], President and Chairman is



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   better positioned to act as a bridge between management and [the Board], facilitating the regular

   flow of information.”

          47.     Additionally, the Offering Documents stated that “[w]e are committed to having

   sound corporate governance principles, which are essential to running our business efficiently and

   maintaining our integrity in the marketplace”; that “[w]e understand that corporate governance

   practices change and evolve over time, and we seek to adopt and use practices that we believe will

   be of value to our stockholders and will positively aid in the governance of the Company”; that,

   “[t]o that end, we regularly review our corporate governance policies and practices and compare

   them to the practices of other peer institutions and public companies”; and that “[w]e will continue

   to monitor emerging developments in corporate governance and enhance our policies and

   procedures when required or when our board determines that it would benefit our Company and

   our stockholders.”

          48.     The statements referenced in ¶¶ 44-47 were materially false and misleading because

   the Offering Documents were negligently prepared and, as a result, contained untrue statements of

   material fact or omitted to state other facts necessary to make the statements made not misleading

   and were not prepared in accordance with the rules and regulations governing their preparation.

   Specifically, the Offering Documents made false and/or misleading statements and/or failed to

   disclose that: (i) Alfi maintained deficient disclosure controls and procedures and internal control

   over financial reporting; (ii) as a result, the Company and its employees could and did engage in

   corporate transactions and other matters without sufficient and appropriate consultation with or

   approval by the Board; (iii) all the foregoing increased the risk of internal and regulatory

   investigations into the Company and its employees; (iv) all the foregoing, once revealed, was likely

   to have a material negative impact on the Company’s reputation, financial condition, and ability



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   to timely file periodic reports with the SEC; and (v) as a result, the Offering Documents were

   materially false and/or misleading and failed to state information required to be stated therein.

            Materially False and Misleading Statements Issued During the Class Period

           49.     The Class Period begins on May 4, 2021, when Alfi’s common stock and warrants

   began publicly trading on the NASDAQ pursuant to the materially false or misleading statements

   or omissions in the Offering Documents, as referenced in ¶¶ 44-47, supra.

           50.     On June 10, 2021, Alfi filed a quarterly report on Form 10-Q with the SEC,

   reporting the Company’s financial and operating results for the quarter ended March 31, 2021 (the

   “1Q21 10-Q”). With respect to Alfi’s disclosure controls and procedures, the 1Q21 10-Q assured

   investors, in relevant part:

           [The Exchange Act Individual Defendants] evaluated the effectiveness of our
           disclosure controls and procedures . . . as of March 31, 2021 (the “Evaluation
           Date”). Based upon that evaluation, the [Exchange Act Individual Defendants]
           concluded that, as of the Evaluation Date, our disclosure controls and procedures
           are effective to ensure that information required to be disclosed by us in the reports
           that we file or submit under the Exchange Act (i) are recorded, processed,
           summarized and reported, within the time periods specified in the SEC’s rules and
           forms and (ii) are accumulated and communicated to management, specifically [the
           Exchange Act Individual Defendants], as appropriate to allow timely decisions
           regarding required disclosure[.]

           51.     The 1Q21 10-Q also represented that “[t]here was no change in our internal control

   over financial reporting . . . that occurred during the fiscal quarter ended March 31, 2021 that has

   materially affected, or is reasonably likely to materially affect, our internal control over financial

   reporting.”

           52.     Appended as exhibits to the 1Q21 10-Q were signed certifications pursuant to the

   Sarbanes-Oxley Act of 2002 (“SOX”), wherein the Exchange Act Individual Defendants certified

   that “[t]he [1Q21 10-Q] fully complies with the requirements of Section 13(a) or 15(d) of the




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   Securities Exchange Act of 1934” and that “[t]he information contained in the [1Q21 10-Q] fairly

   presents, in all material respects, the financial condition and result of operations of the Company.”

          53.     On August 16, 2021, Alfi filed a quarterly report on Form 10-Q with the SEC,

   reporting the Company’s financial and operating results for the quarter ended June 30, 2021 (the

   “2Q21 10-Q”). The 2Q21 10-Q contained substantively the same statements as referenced in ¶¶

   50-51, supra, regarding the review and effectiveness of the Company’s disclosure controls and

   procedures, and that there were no changes in Alfi’s internal control over financial reporting during

   the quarter that materially affected, or were reasonably likely to materially affect, the Company’s

   internal control over financial reporting.

          54.     The 2Q21 10-Q also noted the purchase of an “Office Condo,” stating that “[t]he

   Company signed a contract to acquire additional office space for $1,100,000 in Miami Beach, FL

   on July 12, 2021[,]” the purchase of which “is expected to close late August.”

          55.     Appended as exhibits to the 2Q21 10-Q were substantively the same SOX

   certifications as referenced in ¶ 52, supra, signed by the Exchange Act Individual Defendants.

          56.     The statements referenced in ¶¶ 49-55 were materially false and misleading because

   the Exchange Act Defendants made false and/or misleading statements, as well as failed to disclose

   material adverse facts about the Company’s business, operations, and compliance policies.

   Specifically, the Exchange Act Defendants made false and/or misleading statements and/or failed

   to disclose that: (i) Alfi maintained deficient disclosure controls and procedures and internal

   control over financial reporting; (ii) as a result, the Company and its employees could and did

   engage in corporate transactions and other matters without sufficient and appropriate consultation

   with or approval by the Board; (iii) all the foregoing increased the risk of internal and regulatory

   investigations into the Company and its employees; (iv) all the foregoing, once revealed, was likely



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   to have a material negative impact on the Company’s reputation, financial condition, and ability

   to timely file periodic reports with the SEC; and (v) as a result, the Company’s public statements

   were materially false and misleading at all relevant times.

                                     The Truth Begins to Emerge

          57.     On October 28, 2021, during after-market hours, Alfi filed a current report on Form

   8-K with the SEC, disclosing that, on October 22, 2021, the Board had placed P. Pereira, C. Pereira,

   and McIntosh “on paid administrative leave and authorized an independent internal investigation

   regarding certain corporate transactions and other matters.” That Form 8-K further disclosed, in

   relevant part, that “[o]n October 22, 2021, the Board elected [Defendant] Bordes . . . to serve as

   interim [CEO]”; that, “[o]n October 22, 2021, the Board elected [Defendant] Lee . . . to serve as

   Chairman of the Board, replacing [Defendant] P. Pereira in such role”; that, “[o]n October 27,

   2021, the Board appointed David Gardner, the Company’s Vice President of Technology, to serve

   as the Company’s [CTO] effective immediately, replacing Mr. C. Pereira in such role”; and that,

   “[o]n October 28, 2021, Mr. C. Pereira’s employment with the Company was terminated.”

          58.     On this news, Alfi’s stock price fell $1.24 per share, or 21.91%, to close at $4.42

   per share on October 29, 2021. Despite this decline in the Company’s stock price, Alfi securities

   continued to trade at artificially inflated prices throughout the remainder of the Class Period

   because of the Exchange Act Defendants’ continued misstatements and omissions regarding the

   likely consequences of the internal investigation into the conduct of P. Pereira, C. Pereira, and

   McIntosh.

          59.     For example, on November 1, 2021, Alfi filed another current report on Form 8-K

   with the SEC, disclosing, among other things, that the Company’s Chair of the Audit Committee

   had resigned from the Board, and details concerning the corporate transactions and matters that



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   had precipitated the internal investigation into P. Pereira, C. Pereira, and McIntosh. Specifically,

   with respect to Alfi’s internal investigation, that Form 8-K stated, in relevant part:

          The corporate transactions that precipitated the Board’s actions to place the
          executives on paid administrative leave and to authorize the independent internal
          investigation included: (i) the Company’s purchase of a condominium for a
          purchase price of approximately $1.1 million and the related erroneously certified
          corporate resolution regarding the unanimous approval by the Board and the
          Company’s stockholders of such purchase, and (ii) the Company’s commitment to
          sponsor a sports tournament in the amount of $640,000, a portion of which was
          payable through the issuance by the Company of unregistered shares of the
          Company’s common stock, and as to which the Company would be obligated to
          pay additional cash amounts if the net proceeds received by the recipient upon the
          sale of such shares are less than an amount specified in the contract and for which
          the Company would be given a credit toward sponsorship or attendance at events
          in the future if the net proceeds received by the recipient upon the sale of such
          shares exceed an amount specified in the contract. (The Company’s entry into the
          contract for the purchase of the condominium was disclosed in the [2Q21 10-Q].)
          These transactions were undertaken by the Company’s management without
          sufficient and appropriate consultation with or approval by the Board. The
          independent internal investigation is expected to investigate the details of the
          above-noted transactions and any other matters that come to the Board’s attention
          regarding actions taken by the executives in their management of the Company.
          One of the goals of the independent internal investigation is to help the Company
          in developing improved corporate governance policies and procedures to ensure
          that the Board is provided the opportunity to consider and provide appropriate
          input to the Company’s management on significant corporate transactions. If,
          during the course of the independent internal investigation, the Board uncovers any
          wrongdoing, it will take appropriate action with respect to the person or persons
          responsible therefor.

   (Emphases added.)

          60.     The statements referenced in ¶¶ 57 and 59 were materially false and misleading

   because the Exchange Act Defendants made false and/or misleading statements, as well as failed

   to disclose material adverse facts about the Company’s business, operations, and compliance

   policies. Specifically, the Exchange Act Defendants made false and/or misleading statements

   and/or failed to disclose that: (i) Alfi faced an increased risk of regulatory investigation into the

   Company and its employees; (ii) the foregoing, as well as the Company’s internal investigation



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   into P. Pereira, C. Pereira, and McIntosh, were likely to have a material negative impact on the

   Company’s reputation, financial condition, and ability to timely file periodic reports with the SEC;

   and (iii) as a result, the Company’s public statements were materially false and misleading at all

   relevant times.

                                        The Truth Fully Emerges

          61.        On November 15, 2021, during after-market hours, Alfi filed a current report on

   Form 8-K with the SEC, disclosing that “[o]n November 9, 2021, the Company received a letter

   from the staff of the [SEC] indicating that the Company, its affiliates and agents may possess

   documents and data relevant to an ongoing investigation being conducted by the staff of the SEC”

   and “that such documents and data should be reasonably preserved and retained until further

   notice.” The same filing also disclosed, in relevant part:

          The materials to be preserved and retained include documents and data created on
          or after April 1, 2018 that: (i) were created, modified or accessed by certain named
          former and current officers and directors of the Company or any other officer or
          director of the Company; or (ii) relate or refer to the condominium or the sports
          tournament sponsorship identified in the Company’s Current Report on Form 8-K
          filed on November 1, 2021, or financial reporting and disclosure controls, policies
          or procedures. The Company intends to cooperate fully with the SEC in this matter.

          62.        Also on November 15, 2021, during after-market hours, Alfi issued a press release

   announcing “that Louis A. Almerini, CPA, has been appointed by the [Board] to serve as interim

   [CFO], effective November 8, 2021.”

          63.        Then, on November 16, 2021, Alfi filed a notification of late filing on Form 12b-

   25 with the SEC, disclosing the Company’s inability to timely file the 3Q21 10-Q with the SEC

   because of, inter alia, recent management changes related to the investigation into P. Pereira, C.

   Pereira, and McIntosh, the resignation of the Company’s Chair of the Audit Committee from the




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   Board, and the resignation of Alfi’s independent registered public accounting firm. Specifically,

   that that filing advised, in relevant part:

           Alfi . . . is unable, without unreasonable effort or expense, to file its [3Q21 10-Q]
           by the November 15, 2021 filing date applicable to smaller reporting companies:
           (i) due to recent changes in the Company’s [CEO] and [CFO] and in the Chair of
           the Audit Committee (the “Audit Committee”) of the [Board]; and (ii) because the
           Company has not yet engaged a new independent registered public accounting firm,
           which is needed to provide the required review of the Company’s financial
           statements to be filed as part of the [3Q21 10-Q]. As previously disclosed by the
           Company in its filings with the [SEC], on: (i) October 22, 2021, the Board placed
           [Defendant P.] Pereira, the Company’s President and [CEO], and [Defendant]
           McIntosh, the Company’s [CFO] and Treasurer, on paid administrative leave and
           elected [Defendant] Bordes, a member of the Board, to serve as the Company’s
           interim [CEO]; (ii) October 27, 2021, [Defendant] Mowser, a director of the
           Company and Chair of the Audit Committee, resigned as a member of the Board;
           (iii) October 29, 2021, the Company’s then-serving independent registered public
           accounting firm resigned; (iv) November 1, 2021, the Board appointed Allen
           Capsuto to serve as a director of the Company and as Chair of the Audit Committee;
           and (v) November 8, 2021, the Board appointed Louis A. Almerini to serve as the
           Company’s interim [CFO]. The Audit Committee is in the process of selecting and
           engaging a new independent registered public accounting firm.

           64.     Following these disclosures, the Company’s stock price fell $0.24 per share, or

   5.21%, to close at $4.37 per share on November 16, 2021.

           65.     As of the time this Complaint was filed, the price of Alfi common stock and

   warrants were trading below the $4.15 per share Offering price, damaging investors.

           66.     As a result of Defendants’ wrongful acts and omissions, and the precipitous decline

   in the market value of the Company’s securities, Plaintiff and other Class members have suffered

   significant losses and damages.

                          PLAINTIFF’S CLASS ACTION ALLEGATIONS

           67.     Plaintiff brings this action as a class action pursuant to Federal Rule of Civil

   Procedure 23(a) and (b)(3) on behalf of a class consisting of all persons and entities other than

   Defendants that purchased or otherwise acquired Alfi common stock or warrants pursuant and/or



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   traceable to the Offering Documents issued in connection with the IPO, and/or Alfi securities

   during the Class Period; and were damaged thereby (the “Class”). Excluded from the Class are

   Defendants, the officers and directors of the Company, at all relevant times, members of their

   immediate families and their legal representatives, heirs, successors, or assigns, and any entity in

   which Defendants have or had a controlling interest.

           68.       The members of the Class are so numerous that joinder of all members is

   impracticable. Throughout the Class Period, Alfi securities were actively traded on the NASDAQ.

   While the exact number of Class members is unknown to Plaintiff at this time and can be

   ascertained only through appropriate discovery, Plaintiff believes that there are hundreds or

   thousands of members in the proposed Class. Record owners and other members of the Class may

   be identified from records maintained by Alfi or its transfer agent and may be notified of the

   pendency of this action by mail, using the form of notice similar to that customarily used in

   securities class actions.

           69.       Plaintiff’s claims are typical of the claims of the members of the Class as all

   members of the Class are similarly affected by Defendants’ wrongful conduct in violation of

   federal law that is complained of herein.

           70.       Plaintiff will fairly and adequately protect the interests of the members of the Class

   and has retained counsel competent and experienced in class and securities litigation. Plaintiff has

   no interests antagonistic to or in conflict with those of the Class.

           71.       Common questions of law and fact exist as to all members of the Class and

   predominate over any questions solely affecting individual members of the Class. Among the

   questions of law and fact common to the Class are:

                 •    whether the federal securities laws were violated by Defendants’ acts as alleged
                      herein;

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                •     whether statements made by Defendants to the investing public in the Offering
                      Documents for the IPO, or during the Class Period, misrepresented material facts
                      about the business, operations and management of Alfi;

                •     whether the Securities Act Individual Defendants negligently prepared the
                      Offering Documents for the IPO and, as a result, the Offering Documents
                      contained untrue statements of material fact or omitted to state other facts
                      necessary to make the statements made not misleading, and were not prepared in
                      accordance with the rules and regulations governing their preparation;

                •     whether the Exchange Act Individual Defendants caused Alfi to issue false and
                      misleading financial statements during the Class Period;

                •     whether certain Defendants acted knowingly or recklessly in issuing false and
                      misleading financial statements;

                •     whether the prices of Alfi securities during the Class Period were artificially
                      inflated because of the Defendants’ conduct complained of herein; and

                •     whether the members of the Class have sustained damages and, if so, what is the
                      proper measure of damages.

          72.       A class action is superior to all other available methods for the fair and efficient

   adjudication of this controversy since joinder of all members is impracticable. Furthermore, as the

   damages suffered by individual Class members may be relatively small, the expense and burden

   of individual litigation make it impossible for members of the Class to individually redress the

   wrongs done to them. There will be no difficulty in the management of this action as a class action.

          73.       Plaintiff will rely, in part, upon the presumption of reliance established by the fraud-

   on-the-market doctrine in that:

                •     Defendants made public misrepresentations or failed to disclose material facts
                      during the Class Period;

                •     the omissions and misrepresentations were material;

                •     Alfi securities are traded in an efficient market;

                •     the Company’s shares were liquid and traded with moderate to heavy volume
                      during the Class Period;

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                 •     the Company traded on the NASDAQ and was covered by multiple analysts;

                 •     the misrepresentations and omissions alleged would tend to induce a reasonable
                       investor to misjudge the value of the Company’s securities; and

                 •     Plaintiff and members of the Class purchased, acquired and/or sold Alfi securities
                       between the time the Defendants failed to disclose or misrepresented material
                       facts and the time the true facts were disclosed, without knowledge of the omitted
                       or misrepresented facts.

           74.       Based upon the foregoing, Plaintiff and the members of the Class are entitled to a

   presumption of reliance upon the integrity of the market.

           75.       Alternatively, Plaintiff and the members of the Class are entitled to the presumption

   of reliance established by the Supreme Court in Affiliated Ute Citizens of the State of Utah v.

   United States, 406 U.S. 128, 92 S. Ct. 2430 (1972), as Defendants omitted material information in

   their Class Period statements in violation of a duty to disclose such information, as detailed above.

                                                  COUNT I

    (Violations of Section 10(b) of the Exchange Act and Rule 10b-5 Promulgated Thereunder
                              Against the Exchange Act Defendants)

           76.       Plaintiff repeats and re-alleges each and every allegation contained above as if fully

   set forth herein.

           77.       This Count is asserted against the Exchange Act Defendants and is based upon

   Section 10(b) of the Exchange Act, 15 U.S.C. § 78j(b), and Rule 10b-5 promulgated thereunder

   by the SEC.

           78.       During the Class Period, the Exchange Act Defendants engaged in a plan, scheme,

   conspiracy and course of conduct, pursuant to which they knowingly or recklessly engaged in acts,

   transactions, practices and courses of business which operated as a fraud and deceit upon Plaintiff

   and the other members of the Class; made various untrue statements of material facts and omitted

   to state material facts necessary in order to make the statements made, in light of the circumstances


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   under which they were made, not misleading; and employed devices, schemes and artifices to

   defraud in connection with the purchase and sale of securities. Such scheme was intended to, and,

   throughout the Class Period, did: (i) deceive the investing public, including Plaintiff and other

   Class members, as alleged herein; (ii) artificially inflate and maintain the market price of Alfi

   securities; and (iii) cause Plaintiff and other members of the Class to purchase or otherwise acquire

   Alfi securities and options at artificially inflated prices. In furtherance of this unlawful scheme,

   plan and course of conduct, the Exchange Act Defendants, and each of them, took the actions set

   forth herein.

          79.      Pursuant to the above plan, scheme, conspiracy, and course of conduct, each of the

   Exchange Act Defendants participated directly or indirectly in the preparation and/or issuance of

   the quarterly and annual reports, SEC filings, press releases and other statements and documents

   described above, including statements made to securities analysts and the media that were designed

   to influence the market for Alfi securities. Such reports, filings, releases and statements were

   materially false and misleading in that they failed to disclose material adverse information and

   misrepresented the truth about Alfi’s finances and business prospects.

          80.       By virtue of their positions at Alfi, the Exchange Act Defendants had actual

   knowledge of the materially false and misleading statements and material omissions alleged herein

   and intended thereby to deceive Plaintiff and the other members of the Class, or, in the alternative,

   the Exchange Act Defendants acted with reckless disregard for the truth in that they failed or

   refused to ascertain and disclose such facts as would reveal the materially false and misleading

   nature of the statements made, although such facts were readily available to the Exchange Act

   Defendants. Said acts and omissions of the Exchange Act Defendants were committed willfully

   or with reckless disregard for the truth. In addition, each of the Exchange Act Defendants knew



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   or recklessly disregarded that material facts were being misrepresented or omitted as described

   above.

            81.   Information showing that the Exchange Act Defendants acted knowingly or with

   reckless disregard for the truth is peculiarly within the Exchange Act Defendants’ knowledge and

   control. As the senior managers and/or directors of Alfi, the Exchange Act Individual Defendants

   had knowledge of the details of Alfi’s internal affairs.

            82.   The Exchange Act Individual Defendants are liable both directly and indirectly for

   the wrongs complained of herein. Because of their positions of control and authority, the Exchange

   Act Individual Defendants were able to and did, directly or indirectly, control the content of the

   statements of Alfi. As officers and/or directors of a publicly-held company, the Exchange Act

   Individual Defendants had a duty to disseminate timely, accurate, and truthful information with

   respect to Alfi’s businesses, operations, future financial condition, and future prospects. As a

   result of the dissemination of the aforementioned false and misleading reports, releases and public

   statements, the market price of Alfi securities was artificially inflated throughout the Class Period.

   In ignorance of the adverse facts concerning Alfi’s business and financial condition which were

   concealed by the Exchange Act Defendants, Plaintiff and the other members of the Class purchased

   or otherwise acquired Alfi securities at artificially inflated prices and relied upon the price of the

   securities, the integrity of the market for the securities and/or upon statements disseminated by the

   Exchange Act Defendants, and were damaged thereby.

            83.   During the Class Period, Alfi securities were traded on an active and efficient

   market. Plaintiff and the other members of the Class, relying on the materially false and misleading

   statements described herein, which the Exchange Act Defendants made, issued or caused to be

   disseminated, or relying upon the integrity of the market, purchased or otherwise acquired shares



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   of Alfi securities at prices artificially inflated by the Exchange Act Defendants’ wrongful conduct.

   Had Plaintiff and the other members of the Class known the truth, they would not have purchased

   or otherwise acquired said securities, or would not have purchased or otherwise acquired them at

   the inflated prices that were paid. At the time of the purchases and/or acquisitions by Plaintiff and

   the Class, the true value of Alfi securities was substantially lower than the prices paid by Plaintiff

   and the other members of the Class. The market price of Alfi securities declined sharply upon

   public disclosure of the facts alleged herein to the injury of Plaintiff and Class members.

          84.     By reason of the conduct alleged herein, the Exchange Act Defendants knowingly

   or recklessly, directly or indirectly, have violated Section 10(b) of the Exchange Act and Rule 10b-

   5 promulgated thereunder.

          85.     As a direct and proximate result of the Exchange Act Defendants’ wrongful

   conduct, Plaintiff and the other members of the Class suffered damages in connection with their

   respective purchases, acquisitions, and sales of the Company’s securities during the Class Period,

   upon the disclosure that the Company had been disseminating misrepresented financial statements

   to the investing public.

                                               COUNT II

       (Violations of Section 20(a) of the Exchange Act Against the Exchange Act Individual
                                            Defendants)

          86.     Plaintiff repeats and re-alleges each and every allegation contained in the foregoing

   paragraphs as if fully set forth herein.

          87.     During the Class Period, the Exchange Act Individual Defendants participated in

   the operation and management of Alfi, and conducted and participated, directly and indirectly, in

   the conduct of Alfi’s business affairs. Because of their senior positions, they knew the adverse




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   non-public information about Alfi’s misstatement of income and expenses and false financial

   statements.

           88.    As officers and/or directors of a publicly owned company, the Exchange Act

   Individual Defendants had a duty to disseminate accurate and truthful information with respect to

   Alfi’s financial condition and results of operations, and to correct promptly any public statements

   issued by Alfi which had become materially false or misleading.

           89.    Because of their positions of control and authority as senior officers, the Exchange

   Act Individual Defendants were able to, and did, control the contents of the various reports, press

   releases and public filings which Alfi disseminated in the marketplace during the Class Period

   concerning Alfi’s results of operations. Throughout the Class Period, the Exchange Act Individual

   Defendants exercised their power and authority to cause Alfi to engage in the wrongful acts

   complained of herein. The Exchange Act Individual Defendants, therefore, were “controlling

   persons” of Alfi within the meaning of Section 20(a) of the Exchange Act. In this capacity, they

   participated in the unlawful conduct alleged which artificially inflated the market price of Alfi

   securities.

           90.    Each of the Exchange Act Individual Defendants, therefore, acted as a controlling

   person of Alfi. By reason of their senior management positions and/or being directors of Alfi,

   each of the Exchange Act Individual Defendants had the power to direct the actions of, and

   exercised the same to cause, Alfi to engage in the unlawful acts and conduct complained of herein.

   Each of the Exchange Act Individual Defendants exercised control over the general operations of

   Alfi and possessed the power to control the specific activities which comprise the primary

   violations about which Plaintiff and the other members of the Class complain.




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          91.     By reason of the above conduct, the Exchange Act Individual Defendants are liable

   pursuant to Section 20(a) of the Exchange Act for the violations committed by Alfi.

                                               COUNT III

       (Violations of Section 11 of the Securities Act Against the Securities Act Defendants)

          92.     Plaintiff repeats and incorporates paragraphs 1 through 75 contained above as if

   fully set forth herein, except any allegation of fraud, recklessness, or intentional misconduct.

          93.     This Count is brought pursuant to Section 11 of the Securities Act, 15 U.S.C. § 77k,

   on behalf of the Class, against Defendants.

          94.     The Offering Documents for the IPO were inaccurate and misleading, contained

   untrue statements of material facts, omitted to state other facts necessary to make the statements

   made not misleading, and omitted to state material facts required to be stated therein.

          95.     Alfi is the registrant for the IPO. Defendants named herein were responsible for

   the contents and dissemination of the Offering Documents.

          96.     As issuer of the shares, Alfi is strictly liable to Plaintiff and the Class for the

   misstatements and omissions in the Offering Documents.

          97.     None of the Defendants named herein made a reasonable investigation or possessed

   reasonable grounds for the belief that the statements contained in the Offering Documents were

   true and without omissions of any material facts and were not misleading.

          98.     By reasons of the conduct herein alleged, each Defendant violated, and/or

   controlled a person who violated Section 11 of the Securities Act.

          99.     Plaintiff acquired Alfi shares pursuant and/or traceable to the Offering Documents

   for the IPO.

          100.    Plaintiff and the Class have sustained damages. The value of Alfi common stock

   and warrants has declined substantially subsequent to and because of Defendants’ violations.

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                                                  COUNT IV

       (Violations of Section 15 of the Securities Act Against the Securities Act Individual
                                            Defendants)

          101.    Plaintiff repeats and incorporates paragraphs 1 through 75 and 92 through 100

   contained above as if fully set forth herein, except any allegation of fraud, recklessness, or

   intentional misconduct.

          102.    This Count is asserted against the Securities Act Individual Defendants and is based

   upon Section 15 of the Securities Act, 15 U.S.C. § 77o.

          103.    The Securities Act Individual Defendants, by virtue of their offices, directorship,

   and specific acts were, at the time of the wrongs alleged herein and as set forth herein, controlling

   persons of Alfi within the meaning of Section 15 of the Securities Act. The Securities Act

   Individual Defendants had the power and influence and exercised the same to cause Alfi to engage

   in the acts described herein.

          104.    The Securities Act Individual Defendants’ positions made them privy to and

   provided them with actual knowledge of the material facts concealed from Plaintiff and the Class.

          105.    By virtue of the conduct alleged herein, the Securities Act Individual Defendants

   are liable for the aforesaid wrongful conduct and are liable to Plaintiff and the Class for damages

   suffered.

                                       PRAYER FOR RELIEF

   WHEREFORE, Plaintiff demands judgment against Defendants as follows:

          A.      Determining that the instant action may be maintained as a class action under Rule

   23 of the Federal Rules of Civil Procedure, and certifying Plaintiff as the Class representative;

          B.      Requiring Defendants to pay damages sustained by Plaintiff and the Class by reason

   of the acts and transactions alleged herein;


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          C.      Awarding Plaintiff and the other members of the Class prejudgment and post-

   judgment interest, as well as their reasonable attorneys’ fees, expert fees and other costs; and

          D.      Awarding such other and further relief as this Court may deem just and proper.

                                  DEMAND FOR TRIAL BY JURY

          Plaintiff hereby demands a trial by jury.

   Dated: December 2, 2021                                 Respectfully submitted,

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